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 2AO 245B(05-MA)           (Rev. 06/05) Judgment in a Criminal Case
                            Sheet 1 - D. Massachusetts - 10/05



                                         UNITED STATES DISTRICT COURT
                                                            District of Massachusetts
           UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                              V.
                    DARIUS JONES                                           Case Number: 1: 15 CR 10239                      - 12 - FDS
                                                                           USM Number: 96861-038
                                                                            Stanley W. Norkunas
                                                                           Defendant’s Attorney
                                                                                                                        Additional documents attached




 THE DEFENDANT:
 ✔ pleaded guilty to count(s)
                                    1
    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:                                              Additional Counts - See continuation page

 Title & Section                   Nature of Offense                                                           Offense Ended             Count
21USC§841(a)(1)              Conspiracy to Possess with Intent to Distribute and to Distribute Heroin            07/28/17                   1
and § 846




        The defendant is sentenced as provided in pages 2 through                 6       of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
    Count(s)                                                    is     are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
 the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                             04/14/17
                                                                           Date of Imposition of Judgment

                                                                             /s/ F. Dennis Saylor
                                                                           Signature of Judge

                                                                             The Honorable F. Dennis Saylor IV
                                                                             Judge, U.S. District Court
                                                                           Name and Title of Judge

                                                                             4/14/2017
                                                                           Date
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DEFENDANT: DARIUS JONES
CASE NUMBER: 1: 15 CR 10239 - 12                                - FDS

                                                                   IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:                   years.
                             3




    ✔ The court makes the following recommendations to the Bureau of Prisons:
    (1) That defendant participate in the BOP's Residential Drug Abuse (RDAP); (2) if defendant completes RDAP, he be considered for the BOP's Alternative Community
    Placement Program allowing him to transition to Residential Reentry Center (RRC) prior to release; (3) that he be placed in an RRC for the longest possible period
    permitted; and (4) defendant participate in vocational training in order to help prepare him to enter the workforce upon his release from imprisonment.



    ✔ The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district:
              at                                       G a.m.         G p.m.           on                                                     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

              before 2 p.m. on                                                     .

              as notified by the United States Marshal.

              as notified by the Probation or Pretrial Services Office.


                                                                          RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                                        to

a                                                        , with a certified copy of this judgment.



                                                                                                                 UNITED STATES MARSHAL


                                                                                   By
                                                                                                            DEPUTY UNITED STATES MARSHAL
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DEFENDANT:   DARIUS JONES
CASE NUMBER: 1: 15 CR 10239 - 12                              - FDS
                                                          SUPERVISED RELEASE                                              See continuation page

Upon release from imprisonment, the defendant shall be on supervised release for a term of :                 3 year(s)


     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, not to exceed 104 tests per year, as directed by the probation officer.
       The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
 ✔ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 ✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant’s compliance with such notification requirement.
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                  Sheet 4A - Continuation Page - Supervised Release/Probation -10/05

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DEFENDANT:   DARIUS JONES
CASE NUMBER: 1: 15 CR 10239                     - 12       - FDS

                       ADDITIONAL ✔ SUPERVISED RELEASE                                 PROBATION TERMS

      1. You must participate in a program for substance abuse counseling as directed by the
      Probation Office, which program may include testing, not to exceed 104 drug tests per
      year to determine whether you have reverted to the use of alcohol or drugs.

      2. You must participate in a manualized cognitive behavioral treatment program, as directed
      by the Probation Office. Such program may include group sessions led by a counselor, or
      participation in a program administered by the Probation Office.

      3. You must participate in an educational services program, as directed by the Probation
      Office. Such program may include GED preparation, English as a Second Language
      classes, and/or other classes designed to improve your proficiency in skills such as
      reading, writing, mathematics, and computer use.

      4. You must participate in a vocational services training program, as directed by the
      Probation Office. Such program may include job readiness training and/or skills
      development training.



                       Continuation of Conditions of ✔ Supervised Release                    Probation

      JUDICIAL RECOMMENDATION :

      The Court makes a judicial recommendation that the defendant consider participation in the
      Probation Office’s CARE program during the term of supervised release if deemed to be an
      appropriate candidate.
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             DARIUS JONES
DEFENDANT:
CASE NUMBER: 1: 15 CR 10239 - 12                                 - FDS
                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                              Fine                                 Restitution
TOTALS            $                $100.00                                $                     $0.00          $                 $0.00


    The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                 Total Loss*                               Restitution Ordered                  Priority or Percentage




                                                                                                                                     See Continuation
                                                                                                                                     Page
TOTALS                              $                            $0.00           $                       $0.00

     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          the interest requirement is waived for the                fine             restitution.
          the interest requirement for the              fine             restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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                                                                                                     Judgment — Page            6   of       6
                      DARIUS JONES
DEFENDANT:
CASE NUMBER: 1: 15 CR 10239                          - 12        - FDS

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A     ✘ Lump sum payment of $ $100.00                             due immediately, balance due

                not later than                                       , or
                in accordance                C,          D,            E, or   G F below; or
B         Payment to begin immediately (may be combined with                   C,         D, or      F below); or

C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



                                                                                                                                    See Continuation
     Joint and Several
                                                                                                                                    Page
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
